Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 1 of 19

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—RECEIVED __ COPY

December 22, 2023
DEC 2 6 2023

CLERK U 8 DISTRICT CouRT

Assistant United States Attorney Joseph Bozdech DISTRICT OF ARIZONA
BY, —. DEPUTY

Two Renaissance Square
40 North Central, Suite 1800
Phoenix, AZ 85004-4408

Re: United States vs. David Allen Harbour
CR-19-00898-PHX-DLR

Dear Mr. Bozdech,

| am writing to inform you of the interest | have in the property that was seized by the United States in
the above action. The items that are mine are the following:

18 Karat White Gold Diamond Cuff Bracelet

18 Karat Yellow and White Gold Custom Kansas University Jayhawk Pendant and Cable Chain
Hamra Jewelers Engraved Custom Platinum Diamond Ring

Engraved Custom Platinum Eternity Band

Rolex Day-Date Pearlmaster Watch

$3,000 Cash

OW RPwWNP

Item 1 was a gift for my birthday in 2013. Item 2 was an anniversary gift in May, 2013. | graduated from
the University of Kansas. Item 3 was my wedding ring. The original setting was given to me in 2009 and
the center stone was replaced in 2013. Item 4 was a birthday gift in 2012. Item 5 was a gift. The $3,000
cash was money | had saved for a rainy day.

| am asking to please consider returning these items to me. Because they were gifts, | did not have the
original receipts but was able to obtain them from Hamra Jewelers and have included them with this
letter.

Additionally, | would like to politely request the return of several Silver Dollar coins that belong to my
daughters, Julia and Sarah. Since birth, my parents, Tim and Julie Gottschalk, have given the girls a
special Silver Dollar coin as a gift each year. The Government seized this in the raid on August 5, 2019.
Although | do not see the coins in the list of Forfeiture items, | do not know how to ask for them back,
other than through this letter | am writing. | have included ten receipts (from 2010 to 2019) that my
mom has helped me obtain as proof that they were purchased for the girls, annually, as gifts.

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 2 of 19

Thank you for taking the time to read my request.

Regards,

OA aay.

Abby Harbour

15527 © Palatial Dr
Fountain Hills, Al %52U8

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Date
Dee 01, 2013

Receipt

Reeeipt Number
_ David & Abby Harbour ee
Attn: 8901 N. Martingale Road SHQQ351971
Paradise Vatley, AZ 85253
Assisted By

Hamra, Paul

Item Description Photo Qty Unit Price Amount
25960 Diamond Cuff Bracelet 1 $18,000.00 $17,000.00
18 Karat White Gold peeeorrian,
4.71 Carats Total Weight emeaeteceee rE

Magnetized Closure

Recent Payments & Credits

2013-12-01 Payment [American Express} $18,351.50
Subtoml 317,000.00
Total Sales Tan $1,351.50
Total $18,351.50
Less Payments & Credits $18,351.50
Amount Due $0,00

Page 1 of |

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 4 of 19

Date
May 23, 2013

Receipt
. Receipt Number
David & Abby Harbour eceipe Number
Attn: 8901 N. Martingale Road MVVY49436
Paradise Valley, AZ 85253
Assisted By
Hughes, Heidi
Hamra, Paul

Item Description Photo Oty Unit Price Amount

26008 Custom Kansas University
Jayhawk
Pendant; 18 Karat Yellow &
White
Gold; Yellow & Blue Sapphires
and Rubies: | /2": 18 Karat
White Gold [.6mm 16" Round
Cable Chain

l $8,300.00 $8,300.00

Recent Payments & Credits

Subtotal $8,300.00

Total Sales ‘Tax $742.85

Total $9,042.85

Less Payments & Credits $0.00
Amount Due $9,042.85

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Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 5 of 19

@)

Date
Mar 01, 2013

Receipt

Receipt Number
David & Abby Harbour ecerph Number

Attn: 8901 N. Martingale Road 2V5Q48312
Paradise Valley, AZ 85253
Assisted By
Hamra, deft
Hamra, Paul

Item Description Photo Qty Unit Price Amount

25452 Abby's Custom Platinum
Diamond
Ring Is Recreated With Hamra
Jewelers 6.25 Carat Round
Brilliant Cut Center Diamond
VSI1: EGIL # US 907611001 D
GP
Size 4.5

1 $140,000.00 $140,000.00

Trade-In: 1 ($45,000.00) ($45,000.00)
3.93 Carat Total Round Center

Diamond

HE #LS8704

Recent Payments & Credits

Subtotal $95,000.00)

Total Sales Tax $8,502.50

Total $103,502.50

Less Payments & Credits $0.00

Page tof 2

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 6 of 19

Date
Mar 01, 2013

Receipt

David & Abby Harbour Receipt Number

Attn: 8901 N. Martingale Road 2V5Q483 12
Paradise Valley, AZ 85253
Assisted By
Hamra, Jey
flamra, Paul

Amount Due $103,502.50

Page 2 of 2
Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 7 of 19

4° Wade-n

. Date
Receipt
Oet 18, 2009
Receipt Number
David & Abby Harbour Receipt Number

34850
Overland Park, KS 66223

Assisted By
Z-Virden, Suzic

Item Description Phota Qty Unit Price Amount
18704 Custom Platinum Diamond Ring ! $81.000.00 $81,000.00
3.93 Carat Total Round Center
Diamond

H/VS1 EG1.42926086235

2 @ 92 Carat Total Trapezoid
Diamonds

1.77 Carat Total Weight Round
Accent Diamonds

Size 4.5

Recent Payments & Credits

Subtotal $81,000.00

Total Sales ‘Tax $6,439.50

Total $87,439.50

Less Payments & Credits $0.00
Amount Due $87,439.50

Page | of |
Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 8 of 19

BCE Tens

Receipt

David & Abby Harbour
Attn: 8901 N. Martingale Road
Paradise Valley, AZ 85253

Date
Noy 29, 2012

Receipt Number
NW2M46644

Assisted By
Hamra, Paul

Be ae
SU A aa

Item Description Photo Qty Unit Price Amount
24918 Custom Platinum Uternity Band I $5,400.00 $5,400.00
3-Sided With 109 GH/VS
Diamonds

1.48 Carats Total Weight
3.2mm Width, 2mm Depth
Size 4.5

Recent Payments & Credits

Subtotal

Total Sales Tax

$5.400.00

$483.30

Total

Less Payments & Credits

$5,883.30)

$0.00

Page | of |

Amount Due

$5,883.30
Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 9 of 19

Date
Mar 02, 2012

Receipt

Receipt Number
David & Abby Harbour Seeiph Sumber

Attn: 8901 N. Martingale Road HVGX43773
Paradise Valley, AZ 85253
Assisted By

7-Virden, Suzie

Item Description Photo Qty Unit Price Amount
23262 Rofex Day-Date Pearlmaster I $55,500.00 $49,000.00
Model #R1894889UB 7274:
39mm

Serial #G527156; Automatic

Mother-of-Pearl Diamond Dial
Diamond Bezel; Yellow Gold
Case and Masterpiece Bracelet

Recent Payments & Credits

Subtotal $49,000.00

Total Sates Tax $4,385.50

Total $53,385.50

Less Payments & Credits $0.00
Amount Due $53,385.50

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Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 10 of 19

Page: 1

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CoinsosAmerica” nce in |

AttL*® HistlorytVatlue
Coins Of America Invoice Number: 0961567

—coinsofamerica.com— 4935 Dakota Drive Suite G oinolce Date: veers E
Grafton, WI53024 Order Date: b
Phone:(866) 461-6812 Customer Number; 10-1T19508 i
sales@coinsofamerica.com Email Address: jy2665@sbeglobal.net E
Sold To: Ship To: Tracking Number; 9101148008600516070904,
Julianne Gottschalk Julianne Gottschalk :
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935 :
(785) 527-2665
Confirm To: :
Purchase Order: 100002209 Ship VIA: — BEST WAY Terms: PREPAID
Due: 12/9/2010 ;
Item Number Description Ordered Shipped Back Ordered Price Amount ;
Paid By Google .
ABAEV2010 2010 American Eagle Siiver Dol 1 1 0 $47.95 $47.95 :
EP2010 2010 Proof Silver Eagle 1 4 0 $59.95 $59.95 .
:
Total Items Shipped: 2
Invoice Copy. Net Invoice: $107.90
. ; Less Discount $0.00
Thank-you for your business. Customer: 10-IT19508 Freight: $6.95
Bateh: Sales Tax: $0.00
User 1D: Invoice Total: $114.85 i
Less Devosit: $114.85
Invoice Balance $0.00

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 11 of 19

Coins ot America”

Aril*Historyr Vaiaea
—coinsofamerica.com—

INVOICE

Piease Remit to:

Coins Of America

1235 Dakota Drive Suite G oneoice Dae:
Grafton, WI 53024 Order Date:
Phone:(866) 461-6812 Customer Numbor:

sales@coinsofamerica.com Email Address:

Invoice Number:

Pago:

Hm

0988545
11/28/201)

10-17 19508
Jo2665@sbcglobal.net

NEC a

Sald To: Ship To: Tracking Number: 9405510200793098386601.
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order: 100007777 Ship VIA: BEST WAY Terms: PREPAID
Due: 11/28/2014
Item Number Description Ordered Shipped Back Ordered Price Amount
Cyber FREE Shipping 11/23/11 to 11/27/11
ABAEV2011 2011 American Eagle Silver Dol 1 4 0 $52.95 $62.95
EP2011 2011 Proof Silver Eagle 1 4 0 $83,75 $83.75
Juha
Total Items Shipped: 2
Invoice Copy. Net Invoice: $136.70
' Less Discount: $0.00
Thank-you for your business, Customer 10-T19808 Freight 30.00
Batch: Sales Tax: $0.00
User IO: Invoice Total: $136.70

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 12 of 19

Page: 1
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Coins of mM Eg [ | ¢ d Please Remil to.
ActsWistarys Value, OFA Numb 1014082
' ’ oins merica nvoice Number:
—coinsofamerica.com— 4235 Dakota Drive Suite G Involee Date: 11/27/2012
Grafton, WI 53024 Oe ete.
Phone:(866) 461-6812 Customer Number: XX-XXXXXXX
sales@coinsofamerica.com Emall Address: jg2665@sbcglobal.net
Sold To! Ship To; Tracking Number: 9400110200829564659751;
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order: 100013627 Ship VIA: BEST WAY Terms: PREPAID
Due: 11/27/2012
Item Number Description Ordered Shipped Back Ordered Price Amount
“USPS; Best Way™*
Paid By Authorize. Net
ABAEV2012 2012 American Eagle Silver $ 1 1 0 $61.25 $61.25
i
Total Items Shipped: 1
invoice Copy. Net Invoice: $61.25 ;
. i Less Discount: $0.00
Thank-you for your business. Customer, 101719508 Freight $535 |
Batch Sales Tax: $0.00
User ID Invoice Total: $66.60
Less Deposit: $66.60
invoice Balance $0.00

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Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 13 of 19

Page: t

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Piease Remil to:

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« ’ Coins Of America Involee Numiber: 1044448
coinsofamerica.com— 1235 Dakota Drive Suite G _invlee Date 12/10/2013
Grafton, WI53024 Order Date:
Phone:(866) 461-6812 Customer Number: 10-1T19508
sales@coinsofamerica.com Email Address: jg2665@sbcglobal,net
Sold To: Ship To: Tracking Number: 9400110200793927044235,
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
‘Confirm To:
Purchase Order: 100018906 Ship VIA: BEST WAY Terms: PREPAID
Due: 12/10/2013
Item Number Description Ordered Shipped Back Ordered Price Amount
Paid By Authorize.Net
“*USPS: Best Way**
EP2013 2013 Proof Silver Eagle 1 4 0 $82.95 $82.95
Julig
Total items Shipped: 1
Invoice Copy. Net Invoice: $82.95
. j Less Discount: $0.00
Thank-you for your business. Customer? 10-IT19508 Freight. 35 85
Batch. Sales Tax: $0.00
User ID: Invoice Total: $88,80
Less Deposil: $88.80
Invoice Balance $0.00

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Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 14 of 19

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. aout Coins merica
—coinsofamerica.com— 1535 Dakota Drive Suite G
Grafton, WI 53024
Phone:(866) 461-6812
sales@coinsofamerica.com

UT -

Invoice Numbor: 1072072
Invoice Date: 11/12/2014
Order Number:
Order Date:
Customer Number: 10-1T19508
Email Address: jg2665@sbcglobal.net

Sold To: Ship To: Tracking Number; 9405510200828386331718;

Julianne Gottschalk
2540 Sunset Drive
Belleville, KS 66935

Julianne Gottschalk
2540 Sunset Drive
Belleville, KS 66935
(785) 527-2665

Invoice Copy.
Thank-you for your business. Customer: 10:1T19508
Batch.

User ID:

Confirm To:
Purchase Order: 100022648 Ship VIA: USPS-PM Terms: PREPAID
Due: 11/12/2014
{tem Number Description Ordered Shipped Back Ordered Price Amount
Paid By Authorize.Net
SRSA Tree Ohare as at ee nelle ieee
meee Gresieertionse . 1 * .
Caterer
Breer Oeil,
Ganapnteieterns!
EP2014 2014 Proof Silver Eagle 2 2 0 $82.95 $165.90
——-
Juia 4 Saran
Total Items Shipped: 4

Net Invoice: $210.80
Less Discount: $0.00
Freight: $6.00

Sales Tax: $0.00
Invoice Total: $216.80
Less Deposit: $216.80
Invoice Balance $0.00

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—coinsofamerica.com— Fors >yamen

4235 Dakota Drive Suite G
Grafton, WI 53024
Phone:(866) 461-6812

sales@coinsofamerica.com

in

1104995
12/9/2015

Invoice Number:
Invoice Date:
Order Number:
Order Date:
Customer Number:
Email Address:

10-IT19508
jg2665@sbcglobal.net

Sold To: Ship To; Tracking Number: 9400115901515104 136253,
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order: 100027267 Ship VIA: BEST WAY Terms: PREPAID
Due: 12/9/2015
Item Number Description Ordered Shipped Back Ordered Price Amount
Paid By Authorize.Net :
EP2015 2015 Proof Silver Eagle 2 2 0 $69.95 $139.90 ‘

Julia 4 Saran

Total Items Shipped: 2

Thank-you for your business. Less Discount: $0.00
Customer: 10-IT19508 Freight: $5.54
Batch. Sales Tax: $0.00 :

User ID: Invoice Total: $145.44

Less Devosit: $145.44

Invoice Balance $0.00

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INVOICE

Please Remit to

Coins Of America

1235 Dakota Drive Suite G
Grafton, WI 53024

Phone: (866) 461-6812
sales@coinsofamerica.com

in

4131798
14/7/2016

invoico Number:
Invoice Date:
Order Number:
Order Date:
Customer Number:
Email Address:

10-IT19508
jg2665@sbeglobal.net

17
EP2016 2016 Proof Silver Eagle 2
eee
Total items Shipped: 4
Invoice Copy.
Thank-you for your business. Customer 10-IT19508
Batch:
User 1D:

Sold To: Ship To: Tracking Number: 9405515901515104235270,
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order: Ship VIA: — BEST WAY Terms: PREPAID
. Due: 11/7/2016
Item Number Description Ordered Shipped Back Ordered Price Amount
‘Paid By Credit Card

0 $74.95

$749.90

Juliq % Sarah

Net invoice: $194.80
Less Discount: $0.00
Freight: $6.20

Sales Tax: $0.00
invoice Total: $201.00
Less Deposit: $201.00

$0.00

Invoice Balance

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Coins or America” INVOICE UNA
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. . Coins Of America involce Number: 1159587
—coinsofamerica.com— 435 Dakota Drive Suite G Involce Date: 12/1/2017
Ordar Number:
Grafton, WI 53024 onder Dene:
Phone:(866) 461-6812 Customer Number: 10-1T19508
sales@coinsofamerica.com Email Address: 92665@sbcglobal.net
Sald To: Ship To: Tracking Number: 9400109898642 100438538,
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order; 100034328 Ship VIA: = BEST WAY Terms: PREPAID
Due: 12/1/2017
item Number Description Ordered Shipped Sack Ordered Price Amount
Paid By Credit Card .
EP2017 2017 Proof Silver Eagle 2 2 0 $74.95 $149.90
Julia % Sarah
Total Items Shipped: 2
Invoice Copy. Net Invoice: $149.90
Less Discount: $0.00
Thank-you for your business, Customer. 10.1719508 Freight 36.73
Batch: Sales Tax: $0.00
User ID: invoice Total: $156.63
Less Deposit: $158.63

Invoice Balance $0.00

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Page: j
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Coins ot Am eG l | C d Please Remit to:
Att*Histotry*Vatue Invoice Number: 1179314 :
‘ ' Coins Of America nvoica Number;
—coinsofamerica.com— {595 Dakota Drive Suite G Invoice Date: 11/7/2018
Grafton, WI53024 oe hes Date
Phone:(866) 461-6812 Customer Number: XX-XXXXXXX
sales@coinsofamerica.com Emall Address: jg2665@sbcglobal.net
Sold To: Ship To; Tracking Number: 9400109898642237696074,
Julianne Gottschalk Julianne Gottschalk
2940 Sunset Drive 15527 East Palatial Drive
Belleville, KS 66935 Fountain Hills, AZ 85268
(785) 527-2665
Confirm To:
Purchase Order: 100036892 Ship VIA: BEST WAY Terms: PREPAID
Due: 11/7/2018
Item Number Description Ordered Shipped Back Ordered Price Amount
Please note different ship-to address. :
Thank you, i
Paid By Credit Card é
.EV2018 2018 Silver Eagle - Velvet Box 2 2 0 $38.95 $77.90 :
neces
e
Julia 4 Sarah
Total Items Shipped: 2
Invoice Copy. Net Invoice: $77.90
. nas Less Discount: $0.00
Thank-you for your business. Customer: 10:IT19508 Freight 37.50 |
Bately Sales Tax: $0.00.
User ID: Invoice Total: $85.40
Less Deposit: $85.40
Invoice Balance $0.00

Case 2:19-cr-00898-DLR Document 830 Filed 12/26/23 Page 19 of 19

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. Please Remit lo:
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_ . . a Coins Of America Invoica Numbor; = 1201145
coinsofamer 1C@.CONML— 1235 Dakota Drive Suite G invoice Date: 42/16/2019
Grafton, WI 53024 Order Number:
. Order Date:
Phone: (866) 461 -681 2 Customer Number: 10-17 19508
sales@coinsofamerica.com Email Address: j92665@sbcylobal net
Sold To: Ship To: Tracking Number: 9405509898642814643395;
Julianne Gottschalk Julianne Gottschalk
2540 Sunset Drive 2540 Sunset Drive
Belleville, KS 66935 Belleville, KS 66935
(785) 527-2665
Confirm To:
Purchase Order: 100039768 Ship VIA: BEST WAY Terms: PREPAID
Due: 12/16/2019
item Number — Description Ordered Shipped Back Ordered Price Amount
Raid By Credit Card
Mioo3 Lar sliding letatabeaiadaampentrne awsie: rt e 96°05" rae
Giese EN aaa
bllisemmaitiioasey
a
hierperhteresery
EP2019 2019 Proof Silver Eagle 2 2 0 $74.95 $149.90
Suliqa 2 Sarah
. Total Items Shipped: 4
Invoice Copy. Net Invoice: $194.80
. : Less Discount: $0.00
Thank-you for your business. Customer. 10IT19508 Freight: $7.89
Batch: Sales Tax: $0.00
User ID: invoice Total: $202.69
Less Deposit: $202.69
invoice Balance $0.00

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